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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division



KIM BAKER,
Individually and on behalfofall others
similarly situated

               Plaintiff,                            Civil Action No. l:18-cv-465 (AJT/MSN)

v.



KARE MANAGEMENT
SOLUTIONS, LLC

               Defendant.



                                             ORDER

       This matter is before the Court onthe Report and Recommendation [Doc. No. 14] ofthe

Magistrate Judge recommending that Plaintiffs Motion for Defauh Judgment [Doc. No. 11] be
granted. The Magistrate Judge advised the parties thatobjections to the Report and

Recommendation must be filed within fourteen (14) days of service and that failure to object
waives appellate review. No objections have been filed. Having conducted a de novo review of

the evidence inthis case, the Court adopts and incorporates the findings and recommendations of

the Magistrate Judge. Accordingly, it is hereby

       ORDERED that Plaintiffs Motion for Defauh Judgment [Doc. No. 11] be, and the same

hereby is, GRANTED; and it is further

       ORDERED that default judgment, be andthe same hereby is, ENTERED in favor of

Plaintiffand against Defendant in the amount of $58,900.38, representing $29,450.19 for unpaid
wages and an equal amount in liquidated damages; and it is further
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